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Mary Angie Garcia
Bexar County District Clerk
Accepted By: Krystal Torres

                                                          2020CI23993
                                            CASE NO. ____________________ɫ

                HEIRS OF FERNANDO MACIAS,ɫ                      § ɫ
                STEVEN MACIAS, YVONNEɫ                          § IN THE DISTRICT COURTɫ
                SHILLING, AND WALTER                            §
                MACIAS AND REPRESENTATIVEɫ                      §    ɫ
                OF THE ESTATE OF FERNANDOɫ                      §    ɫ
                                                                       131st
                MACIAS,ɫ ɫ                                           _______JUDICAL DISTRICT OFɫ
                                                                §
                PLAINTIFFS
                                                                §
                ɫ                                                    ɫ
                                                                §
                V.ɫɫ                                                 ɫ
                                                                §
                ɫ                                                    ɫ
                BEXAR COUNTY, BEXAR                             §    BEXAR COUNTY
                COUNTY HOSPITAL DISTRICT,ɫ                      §    ɫ
                UNIVERSITY HOSPITAL,ɫ                           §                            ɫ
                SHERIFF JAVIER SALAZAR,ɫ                        §
                LAURA BALDITT, RUBEN VELA,                      §
                BOBBY HOGELAND, JOHN DOESɫ                      §ɫ
                1-5.ɫ
                ɫ
                DEFENDANTS.

                                                  ORIGINAL PETITIONɫ

              Plaintiffs,ɪ Heirsɪ ofɪ Fernandoɪ Macias,ɪ Yvonneɪ Shilling,ɪ Stevenɪ Macias,ɪ andɪ Walterɪ Maciasɪ asɪ

              Representativeɪ ofɪ theɪ Estateɪ ofɪ Fernandoɫ Macias,ɪ andɪ Individually,ɪ bringɪ thisɪ theirɪ Originalɪ

              Petitionɪ againstɪ Bexarɪ County,ɪ Bexarɪ Countyɪ Hospitalɪ District,ɪ Universityɪ Hospital,ɪ

              Defendantɪ Sheriffɪ Javierɪ Salazar,ɪ Lauraɪ Balditt,ɪ Rubenɪ Vela,ɪ Bobbyɪ Hogeland,ɪ andɪ Johnɪ

              Does 1-5, in their individual capacity, and would respectfully show as follows:ɪ




                                                                 1
                                       I.      INTRODUCTIONɫ


1.     Theɪ Maciasɪ family'sɪ tragedyɪ startedɪ whenɪ Walterɪ reportedɪ hisɪ 61-yearɪ oldɪ brother,ɪ

Fernando Macias, who suffered from severe and well documented mental illness.ɪ

2.     Walterɪ Macias,ɪ Fernandoɪ Macias’ɪ brother,ɪ calledɪ forɪ assistanceɪ toɪ getɪa mentalɪhealthɪ

warrantɪ issuedɪ toɪ protectɪ hisɪ mother’sɪ safety.ɪBexarɪCountyɪSheriff’sɪofficeɪresponded.ɪAfterɪ

theɪ response,ɪ thereɪ wasɪ aɪ standoffɪ betweenɪ Fernandoɪ andɪ theɪ deputies,ɪ andɪ soonɪ after,ɪ theɪ

Texasɪ Rangersɪ SWATɪ teamɪ joinedɪ andɪ relievedɪ theɪ Bexarɪ Countyɪ deputies.ɪ Afterɪ theɪ Bexarɪ

Countyɪ Deputiesɪ leftɪ theɪ scene,ɪ Theɪ Texasɪ Rangersɪ SWATɪ teamɪ openlyɪ firedɪ uponɪ theɪ

home, striking and killing Fernando Macias' Mr. Mother Amelia Macias.ɪ

3.     Afterɪ DPSɪ agentsɪ killedɪ hisɪ mother,ɪ Fernandoɪ Maciasɪ wasɪ injured,ɪ sufferingɪ aɪ

gunshot wound, and arrested.ɪ

4.     Heɪ wasɪ bookedɪandɪtakenɪintoɪcustodyɪheɪwasɪnotedɪtoɪweighɪoverɪ300ɪpoundsɪwhenɪ

he was placed in the Bexar County jail, operated by Defendant Sheriff Javier Salazar.ɪɪ

5.     Inɪ septemberɪ 2018,ɪ Fernandoɪ Maciasɪ wasɪ foundɪ incompetentɪ toɪ standɪ trial,ɪ aɪ veryɪ

high burden to reach.

6.     Fernandoɪ wasɪ treatedɪ forɪ theɪ gunshotɪ woundsɪ andɪ remainedɪ inɪ Universityɪ Hospitalɪ

untilɪMarchɪ2018.ɪThereɪisɪnoɪindicationɪofɪmedicalɪcareɪafterɪhisɪrelease,ɪinɪMarchɪ2018ɪuntilɪ

November 2018 when he was taken to the jail infirmary,ɪ




                                                   2
7.      Fernandoɪ Maciasɪ wasɪ notɪ providedɪ adequateɪ medicalɪ careɪ whileɪ inɪ theɪ custodyɪ ofɪ

Bexar county, including mental health care.ɪɪ

8.      Fernandoɪ sawɪ multipleɪ medicalɪ providersɪ whoɪ ignoredɪ hisɪ seriousɪ medicalɪ needsɪ

priorɪ toɪ goingɪ toɪ theɪ Universityɪ Hospital,ɪ includingɪ Harlanɪ J.ɪ Goode,ɪ Howellɪ Aɪ Cone,ɪ

Jonathanɪ D.ɪ Smart,ɪ Amirɪ Sɪ Anvari,ɪ Sandhyaɪ Vinu-Nair,ɪ AmbroseɪChanɪRN,ɪandɪDanaɪRitz,ɪ

RN.ɪ

9.      The hospital admitted Fernando Macias from December 2, 2018-December 11, 2018.ɪ

10.     Fromɪ Decemberɪ 11,ɪ 2018-Decemberɪ 15,ɪ 2018,ɪ Fernandoɪ Maciasɪ returnedɪ fromɪ theɪ

hospitalɪ toɪ theɪ Jailɪ infirmary,ɪ whereɪ Robertɪ Parker,ɪ RN,ɪ Ericaɪ Eɪ Martinez-Castro,ɪ RN,ɪ

SmithaɪJɪKattapuram,ɪRN,ɪJohnɪEɪBennett,ɪRN,ɪJohnɪHogan,ɪRN,ɪOlgaɪLɪAli,ɪPA,ɪ Jonathanɪ

Smith,ɪ RN,ɪ andɪ Andrewɪ Gonzalez,ɪ eachɪ continuedɪ toɪ ignoreɪ hisɪ seriousɪ medicalɪ needs,ɪ

namely sepsis.ɪ

11.     And December 15, 2018, he returned to the hospital and died on December 16, 2018.ɪ

12.     Noticeɪ fromɪ theɪ Texasɪ Commissionɪ onɪ Jailɪ Standardsɪ outliningɪ theɪ requirementsɪ

sheriffsɪ mustɪ followɪ toɪ complyɪ withɪ theɪ newlyɪ enactedɪ S.B. 1849.ɪ ("TheɪSandraɪBlandɪAct")ɪ

S.B.ɪ 1849ɪ amendedɪ Tex.ɪ Codeɪ Crim.ɪ Proc.ɪ Art.ɪ 16.22ɪ wasɪ sentɪ toɪ Defendantɪ Sheriffɪ Javierɪ

Salazar.ɪ

13.     Defendantsɪ wereɪ requiredɪ toɪ "giveɪ prisonersɪ theɪ abilityɪ toɪ accessɪ aɪ mentalɪ healthɪ

professionalɪ atɪ theɪ jailɪ throughɪ aɪ telementalɪ healthɪ serviceɪ 24ɪ hoursɪ aɪ day"ɪ andɪ "giveɪ

prisonersɪ theɪ abilityɪ toɪ accessɪ aɪ healthɪ professionalɪ atɪ theɪ jailɪ orɪ throughɪ aɪtelehealthɪserviceɪ




                                                      3
24ɪ hours-a-dayɪ or,ɪ ifɪ aɪ healthɪ professionalɪ isɪ unavailableɪ atɪ theɪ jailɪ orɪ throughɪ aɪ telehealthɪ

service,ɪ provideɪ forɪ aɪ prisonerɪ toɪ beɪ transportedɪ toɪaccessɪaɪhealthɪprofessional."ɪTex.ɪGov'tɪ

Code, § 511.009(a)(23)(A-B).ɪ

14.     Defendantɪ Salazar,ɪ asɪ Sheriff,ɪ isɪ responsibleɪ forɪ thoseɪ incarceratedɪ atɪ hisɪ jailɪ andɪ isɪ

"theɪ keeperɪ ofɪ theɪ countyɪ jail,"ɪ "shallɪ safelyɪ keepɪ allɪ prisonersɪ committedɪ toɪ theɪ jail,"ɪ andɪ

"shall continue to exercise supervision and control over the jail."ɪ

15.     Defendantɪ BexarɪCountyɪHospitalɪDistrictɪd/b/aɪUniversityɪHealthɪSystemsɪ("UHS")ɪ

isɪ responsibleɪ forɪ theɪ medicalɪ treatmentɪ ofɪ allɪinmatesɪatɪtheɪBexarɪCountyɪJailɪandɪprovidedɪ

medical and mental health care to Fernando Macias while he was incarcerated.ɪ

16.     Mr. Maciasɪ remainedɪ inɪ jailɪ underɪ UHSɪ medicalɪ providers’ɪ careɪ untilɪ heɪwasɪtakenɪtoɪ

the UHS ER on December 16, 2018, after being found down and unresponsive in his cell.ɪɪ

17.     Heɪ presentedɪ toɪ theɪ hospitalɪ weighingɪ 196ɪ poundsɪ withɪ sepsis,ɪ pressureɪ sores1,ɪ nailɪ

bedsɪ onɪ greatɪ toeɪ missing,ɪ PMHɪ ofɪ CKD5,ɪdecliningɪhemodialysisɪforɪthe pastɪyearɪwhileɪheɪ

wasɪ inɪ theɪ custodyɪ ofɪ Bexarɪ County,ɪ inɪ additionɪ toɪ DM2,ɪ HTN,ɪ hypothyroidism,ɪ andɪ

Schizoaffective Disorder, Delusional Disorder.ɪɪ

18.     Fernandoɪ Maciasɪ wasɪ broughtɪ toɪ theɪ UHSɪ ER.ɪHisɪBPɪwasɪnotedɪtoɪbeɪlowɪatɪ82/53ɪ

withɪ aɪ pulseɪ ofɪ 40ɪ malnourishedɪ andɪ sufferingɪ fromɪ dehydration.ɪ Heɪ wasɪ alsoɪ notedɪ toɪ beɪ




1
 Decubitus ulcers/ pressure sore is defined as "damage to the skin or underlying structure as a result of tissue
compression and inadequate perfusion." Taber's Cyclopedic Medical Dictionary 1675 (19th ed. 2001). They
"typically occur in patients who are bed or chair bound." Clermont Nursing & Convalescent Ctr. v. Leavitt, 142 F.
App'x 900 (6th Cir. 2005)


                                                         4
hypothermicɪ andɪ hypoxicɪ (pO2ɪ 82%ɪ onɪ roomɪ air).ɪ Onɪ arrival,ɪ heɪ wasɪ foundɪ toɪ haveɪserumɪ

potassium of 6.7.ɪ ɪ

19.    Heɪ wasɪ leftɪ to languishɪ inɪ custody.ɪ Hisɪ necessaryɪ dialysisɪ wasɪ notɪ given,ɪ treatments,ɪ

vital signs, medicines, or exams for the time he was in custody.ɪɪ

20.    Theɪ jailɪ didɪ notɪ provideɪ anyɪ usefulɪ medicalɪ recordsɪ toɪ theɪ hospitalɪ uponɪhisɪtransfer,ɪ

soɪ heɪ couldɪ notɪ receiveɪ theɪ necessaryɪ treatment.ɪTheɪjailɪnotedɪheɪrefusedɪanyɪtreatment,ɪyetɪ

no mental health evaluation or treatment was provided to Mr. Macias while in custody.ɫ


                                                   II.     PARTIESɫ

21.    Heirs of Fernando Macias, P.O. Box 27353, Houston, TX 77227.ɪ

22.    Walterɪ Macias,ɪ individuallyɪ andɪ asɪ aɪ representativeɪ ofɪ theɪ Estateɪ ofɪ FernandoɪMaciasɪ

P.O. Box 27353, Houston, TX 77227.ɪ

23.    Steven Macias, as heir, P.O. Box 27353, Houston, TX 77227.ɪ

24.    Yvonne Schilling, as heir, P.O. Box 27353, Houston, TX 77227.ɪ

25.    Bexarɪ Countyɪ mayɪ beɪ servedɪ whereverɪ theɪ Countyɪ Judgeɪ Nelsonɪ Wolffɪ mayɪ beɪ

found.ɪ

26.    Sheriff Salazar Javier, individually, who may be served wherever he may be found.ɪ

27.    Bexar County Hospital District,ɪɪ

28.    University Hospital,ɪɪ

29.    Laura Balditt individually, who may be served wherever she may be found.ɪ




                                                   5
30.     Ruben Vela, individually, who may be served wherever he may be found.ɪ

31.     Bobby Hogeland, individually, who may be served wherever he may be found.ɪ

                                  III.      JURISDICTION AND VENUEɫ

32.     Thisɪ Courtɪ hasɪ jurisdictionɪ overɪ Plaintiffs’ɪ stateɪ andɪ federalɪ claims,ɪ underɪ 28ɪ U.S.C.ɪ

sectionsɪ 1331ɪ andɪ 2201,ɪ 42ɪ U.S.Cɪ sectionsɪ 1983ɪ andɪ 1988,ɪ andɪ theɪ Fourthɪ andɪ Fourteenthɪ

Amendments to the United States Constitution, and supplemental jurisdiction.ɪ

33.     Venueɪ isɪ properɪ inɪ thisɪ Courtɪ underɪ 28ɪ U.S.C.ɪ sectionɪ 1391(b)ɪ becauseɪ theɪ incidentsɪ

at issue occurred in Bexar County, Texas.ɪɪ



                                      IV.      ADDITIONAL FACTSɫ

34.     Onɪ Marchɪ 6,ɪ 2018,ɪ atɪ approximatelyɪ 5:00ɪ PM,ɪ Ameliaɪ andɪ Fernandoɪ wereɪ atɪ theirɪ

home.ɪɪ

35.     Fromɪ theɪ timeɪ Fernandoɪ Maciasɪ wasɪ takenɪ intoɪ custodyɪ untilɪ theɪ timeɪ heɪ diedɪ onɪ

Decemberɪ 16,ɪ 2018,ɪ Defendantsɪ wereɪ acutelyɪ awareɪ ofɪ Fernandoɪ Macias’sɪ seriousɪ medicalɪ

needs and mental health condition.ɪ

36.     Afterɪ Fernandoɪ Maciasɪ wasɪ takenɪ intoɪ custodyɪ untilɪ theɪ timeɪ heɪ diedɪ onɪ Decemberɪ

16,ɪ 2018,ɪ heɪ awaitedɪ trialɪ andɪ placementɪ inɪ theɪ stateɪ mentalɪ healthɪ hospitalɪ dueɪ toɪ hisɪ wellɪ

documented mental health condition.ɪ




                                                     6
37.     Medicalɪ recordsɪ indicateɪ thatɪ Fernandoɪ wasɪ onɪ theɪ listɪ forɪ placementɪ atɪ aɪ stateɪ

hospitalɪ forɪ comfortɪ care.ɪ Thereɪ isɪ aɪ significantɪ backlogɪ inɪ theɪ systemɪ andɪ heɪ wasɪ notɪ likelyɪ

to be placed until next year, yet made no provisions to have him placed anywhere else.ɪ

38.     Heɪ wasɪ notɪ placedɪ underɪ theɪ careɪ ofɪ aɪ psychiatristɪ orɪ otherɪ mentalɪ healthɪ providerɪ

whileɪ inɪ custodyɪ ofɪ theɪ jail,ɪ despiteɪ theɪ factɪ heɪ wasɪ awaitingɪ placementɪ atɪ theɪ overcrowdedɪ

state mental health hospital and had a serious medical need resulting in renal and liver failure.ɪ

39.     Bexarɪ Countyɪ medicalɪ recordsɪ showɪ thatɪ heɪ wasɪ diagnosedɪ withɪ Schizoaffectiveɪ

Disorder,ɪ Delusionalɪ Disorder,ɪ renalɪfailure,ɪliverɪfailure,ɪdehydration,ɪandɪmalnourished.ɪHeɪ

was later “found down and unresponsive in his cell.”ɪ

40.     Accordingɪ toɪ recordsɪ Fernandoɪ Maciasɪ refusedɪ hisɪ dialysisɪ treatmentɪ andɪ otherɪ dailyɪ

needs, another indication of his deteriorating mental capacity and mental illness.ɪ

41.     Heɪ wasɪ housedɪ inɪ theɪ infirmaryɪ atɪ theɪ Bexarɪ Countyɪ Jail,ɪ operatedɪ byɪ defendantɪ

University Health Systems, in November 2018.ɪ

42.     Defendantsɪ failedɪ toɪ appropriatelyɪ respondɪ toɪ theɪ mentalɪ healthɪ needsɪ ofɪ Fernandoɪ

Macias, defendants failed physical psychological injury, harm, screen and evaluate,ɪɪ

43.     Fromɪ theɪ timeɪ Fernandoɪ Maciasɪ enteredɪ custodyɪ untilɪ Aprilɪ 5,ɪ 2018,ɪ Defendant,ɪ

Laura Balditt was the Assistant Bexar County Jail Administrator.ɪɪ

44.     Inɪ Aprilɪ 2018,ɪ Defendant,ɪ Rubenɪ Velaɪ wasɪtheɪinterimɪAssistantɪJailɪAdministratorɪatɪ

the Bexar County Adult Detention Center Facility, until September 2018.ɪ




                                                     7
45.    Inɪ Septemberɪ 2018,ɪ Defendant,ɪ Bobbyɪ Hogeland,ɪ aɪ manɪ withoutɪ anyɪ administrativeɪ

experienceɪ accordingɪ toɪ theɪ Countyɪ Judge,ɪ becameɪ theɪ Assistantɪ Chiefɪ Deputyɪ andɪ Jailɪ

Administrator.ɪ

46.    Septemberɪ 28,ɪ 2018ɪ throughɪ atɪ leastɪ theɪ dateɪ ofɪ Fernandoɪ Macias’sɪ deathɪ onɪ

December 16, 2020, Ruben Vela acted as interim jail administrator.ɪ

47.    Thereɪ wereɪ aɪ totalɪ ofɪ threeɪdifferentɪAssistantɪJailɪAdministrators,ɪresponsibleɪforɪtheɪ

healthɪ careɪ ofɪ inmatesɪ ofɪ theɪ Bexarɪ Countyɪ jailɪ duringɪ theɪ timeɪ Fernandoɪ Maciasɪ wasɪ inɪ

custodyɪ andɪ deprivedɪ ofɪ medicalɪ careɪ andɪ ignoredɪ hisɪ seriousɪ medicalɪ needs,ɪ includingɪ

mental health.ɪ ɪ

48.    Sixɪ inmatesɪ diedɪ inɪ theɪ shortɪ periodɪ fromɪ Januaryɪ 19,ɪ 2018ɪ throughɪ Februaryɪ 22,ɪ

2019, Bexar County Jail due to the conditions of confinement of the Bexar County jail.ɪ

49.    Theɪ sameɪ actionsɪ thatɪ ledɪ theɪ Countyɪ Judgeɪ Nelsonɪ Wolffɪ toɪ describeɪ theɪ deathɪ ofɪ

Janiceɪ Dotson-Stephensɪ asɪ “Aɪ lotɪ ofɪ incompetence.ɪ Aɪ lotɪ ofɪ breakdown.”ɪ applyɪ toɪ theɪ

actions leading to the death of Fernando Macias.ɪ

50.    Further,ɪ Bexarɪ Countyɪ Jailɪ failedɪ toɪ meetɪ theɪ statutoryɪ standardsɪ requiredɪ byɪ theɪ

Texasɪ Commissionɪ onɪ Jailɪ Standards,ɪ includingɪ multipleɪviolationsɪofɪTex.ɪAdmin.ɪCode,ɪtit.ɪ

37, § 267, 271, 273, 275, and 285.ɪ


                                   V.      CLAIMS FOR RELIEFɫ

       Claim 1: 42 U.S.C. § 1983 Fourth and Fourteenth Amendment Violationsɫ




                                                  8
51.     Plaintiffɪ incorporatesɪ factsɪ fromɪ allɪ paragraphsɪ statedɪ withinɪ theɪ complaintɪ as fullyɪ

stated in this section.ɪ

52.     Thisɪ claimɪ isɪ broughtɪ againstɪ allɪ defendantsɪ inɪ theirɪ respectiveɪ individualɪ capacities,ɪ

pursuantɪ toɪ 42ɪ U.S.C.ɪ sectionɪ 1983,ɪ whichɪ isɪ entitledɪ theɪ Civilɪ Rightsɪ Actɪ andɪ thisa

constitutionala claima isa nota intendeda toa bea aa claima againsta thea Statea ofa Texas.ɪ Theɪ criticalɪ

language of the Civil Rights Act sets forth, in part:ɪɪ

        “Everyɫ personɫ who,ɫ underɫ colorɫ ofɫ anyɫ statute,ɫ ordinance,ɫ regulation,ɫ custom,ɫ orɫ usage,ɫ ofɫanyɫStateɫ
        orɫ Territoryɫ orɫ theɫ Districtɫ ofɫ Columbia,ɫsubjects,ɫorɫcausesɫtoɫbeɫsubjected,ɫanyɫcitizenɫofɫtheɫUnitedɫ
        Statesɫ orɫ otherɫ personɫ withinɫ theɫ jurisdictionɫ thereofɫ toɫ theɫ deprivationɫ ofɫ anyɫ rights,ɫ privileges,ɫ orɫ
        immunities secured by the Constitution and laws, shall be liable to the party injured in an action at
        law,ɫ suitɫ inɫ equity,ɫ orɫ otherɫ properɫ proceedingɫ forɫ redress.”ɫ Fourteenthɫ andɫ Fourthɫ Amendments:ɫ
        Due Process, Unlawful Search, Seizure, and Detention.ɫ

53.     Defendant Officers violated clearly established constitutional rights, and their

conductɪ wasɪ objectivelyɪ unreasonableɪ inɪ lightɪ ofɪ clearlyɪ establishedɪ lawɪ atɪ theɪ timeɪ ofɪ theɪ

relevant incident and with deliberate indifference to Mr. Macias’s serious medical needs.

54.     Defendants were deliberately withheld medical treatment from Mr. Macias.ɪ

55.     Defendants were aware that he was dehydrated and malnourished, had serious

medical needs including mental health issues.ɪɪ

56.     Furthermore, defendants deprived Fernando Macias of necessary medical care under

the Fourteenth Amendment by engaging in the actions stated herein.ɪɪ

57.     Fernando Macias suffered mental anguish in the months, weeks, days, leading up to

hisɪ death,ɪ afterɪ theɪ defendantsɪ deliberatelyɪ withheldɪ medicalɪ careɪ fromɪ Fernandoɪ Macias,ɪ




                                                             9
includingɪ mentalɪhealthɪcareɪinɪdirectɪdefianceɪofɪtheɪSandraɪBlandɪActɪenactedɪinɪSeptemberɪ

2017.ɪɪ

                    Claim 1: DELAY AND DENIAL OF MEDICAL CAREɪ

58.       BetweenɪMarchɪ2018ɪandɪNovemberɪ2018ɪFernandoɪMaciasɪhadɪnoɪmedicalɪcare,ɪandɪ

specifically mental health, according to medical records.ɪ

59.       Inɪ additionɪ toɪ theɪ denialɪ andɪ delayɪ inɪ mentalɪ healthɪ care,ɪ Fernandoɪ Macias'ɪ otherɪ

seriousɪ medicalɪ needsɪ wereɪignored.ɪHeɪhadɪbeenɪinɪtheɪhospitalɪonɪDecemberɪ11,ɪ2018,ɪandɪ

returnedɪ sufferingɪ fromɪ sepsis.ɪ Sepsisɪ isɪ aɪ life-threateningɪ conditionɪ thatɪ occursɪ whenɪ

inflammationɪ “developsɪ inɪ responseɪ toɪ infectionɪ butɪ extendsɪ beyondɪ theɪ infectionɪ siteɪ toɪ

affectɪ theɪ wholeɪ body.ɪ Sepsisɪ requiresɪ earlyɪ suspicionɪ and rapidɪ treatmentɪ forɪsurvivalɪeveryɪ

hourɪ thatɪ cliniciansɪ failedɪ toɪ completeɪ theɪ anti-sepsisɪ protocols,ɪ knownɪ asɪ theɪ “three-hourɪ

bundle,”ɪ mortalityɪ ratesɪincrease,ɪitɪisɪcharacterizedɪbyɪanɪelevatedɪheartɪrate,ɪrapidɪbreathing,ɪ

abnormalɪ bodyɪ temperature,ɪ andɪ decreasedɪ bloodɪ pressure."ɪ Guzmanɫv.ɫMem’lɫHermannɫHosp.ɫ

Sys.,ɪ 637ɪ F.ɪ Supp.ɪ 2dɪ 464,ɪ 473ɪ (S.D.ɪ Tex.ɪ 2009).ɪ One-thirdɪ ofɪ thoseɪ whoɪ contractɪ sepsisɪ

worldwide die from it.ɪ

60.       Theɪ defendantsɪ actedɪ underɪ theɪ colorɪ ofɪ stateɪ lawɪ whenɪ itɪ delayedɪ andɪ deniedɪ

Fernandoɪ Maciasɪ medicalɪ care,ɪ withoutɪ properɪ reasonɪ orɪ authority,ɪ andɪ withɪ deliberateɪ

indifference to his rights.ɪ




                                                   10
61.     Bexarɪ County,ɪ theirɪemployees,ɪandɪtheirɪagentsɪ failedɪtoɪtrainɪonɪrecognizingɪseriousɪ

medicalɪ andɪ mentalɪ healthɪ needsɪ includingɪ sepsisɪ andɪ whenɪ toɪ transportɪ anɪ inmateɪ forɪ

critical time sensitive medical care.ɪɪ

62.     Theyɪfailedɪtoɪadequatelyɪsuperviseɪtheɪactionsɪandɪomissionsɪofɪtheɪjailɪstaff,ɪofficers,ɪ

contractors, employees, and agents of the Bexar County Jail.ɪ

63.     Sheriffɪ Salazar,ɪ hisɪ employees,ɪ andɪ hisɪ agentsɪ failedɪ toɪ trainɪ andɪ failedɪ toɪ adequatelyɪ

superviseɪ theɪ actionsɪ andɪ omissionsɪ ofɪ theɪ jailɪ staff,ɪ officers,ɪ contractors,ɪ employees,ɪ andɪ

agentsɪ responsibleɪforɪprovidingɪmedicalɪcareɪtoɪtheɪinmatesɪatɪtheɪBexarɪCountyɪJail,ɪnamelyɪ

Fernando Macias.ɪɪ

64.     Whileɪ inɪ theɪ custodyɪ ofɪ Bexarɪ CountyɪJail,ɪFernandoɪMaciasɪdidɪnotɪreceiveɪadequateɪ

orɪ preventiveɪ medicalɪ careɪ forɪ theɪ fluɪ dueɪ toɪ theɪ Bexarɪ Countyɪ Jail'sɪ policies,ɪ practices,ɪ

and/or customs.ɪ

65.     Fernandoɪ Macias'ɪ seriousɪ medicalɪ needs wereɪ ignoredɪ dueɪ toɪ theɪ defendantsɪ

deliberateɪ indifferenceɪ asɪ heɪ wasɪ deniedɪ medicalɪ careɪ andɪ diedɪ asɪ aɪ directɪ resultɪ ofɪ theɪ actsɪ

and omissions of the Defendants.ɪɪ

66.     Thoseɪ actsɪ andɪ omissionsɪ violatedɪ Fernandoɪ Macias'sɪ constitutionalɪ rightɪ toɪ dueɪ

processɪ toɪ beɪ freeɪ fromɪ unreasonableɪ searchɪ andɪ seizureɪ andɪ theɪ privilegesɪ andɪ immunitiesɪ

andɪ rightsɪ guaranteed byɪ theɪ Fourthɪ andɪ Fourteenthɪ Amendments,ɪ makingɪ theɪ Defendantsɪ

liable to Plaintiffs under and pursuant to 42 U.S.C. sections 1983 and 1985.ɪɪ




                                                     11
67.     Atɪ allɪ times,ɪ relevantɪ hereto,ɪ Plaintiffs,ɪ andɪ Fernandoɪ Maciasɪ hadɪ anɪ inalienableɪ andɪ

fundamental liberty interest protected by the Constitution.ɪ ɪ

68.     Fernandoɪ Maciasɪ hadɪ theɪ rightɪ toɪ adequateɪ medicalɪ careɪ underɪ theɪ Fourth,ɪ andɪ

Fourteenth Amendments.ɪɪ

69.     Theɪ policiesɪ andɪ proceduresɪ ofɪ Bexarɪ Countyɪ thatɪitɪadoptedɪfromɪmedicalɪprovidersɪ

atɪ theɪ jail,ɪ includingɪ theɪ policyɪ ofɪ notɪ providingɪ mentalɪ healthɪ careɪ toɪinmatesɪinɪtheɪjailɪandɪ

failingɪ toɪ addressɪ theɪ foreseeableɪ riskɪofɪharmɪofɪinfectionsɪandɪdeathɪafterɪotherɪjailɪinmatesɪ

exhibitedɪ seriousɪ mentalɪ healthɪ needs.ɪ Itɪ alsoɪ adoptedɪ theɪ policy,ɪ alongɪ withɪ theɪ delayɪ inɪ

providingɪ emergencyɪ medicalɪ treatmentɪ afterɪ symptomsɪ ofɪ aɪ seriousɪ medicalɪ needɪ

manifested, amounting to deliberate indifference by Bexar County.ɪɪ

70.     Inɪ addition,ɪ itɪfailedɪtoɪtrainɪmedicalɪproviders,ɪincludingɪphysicians,ɪnurses,ɪphysicianɪ

assistants,ɪ advancedɪ practiceɪ nurses,ɪ andɪ nursesɪ whoɪ workedɪ atɪ theɪ jailɪ toɪaddressɪanɪinmateɪ

with mental health needs.ɪɪ

71.     Duringɪ Fernandoɪ Macias'sɪ custody,ɪ Bexarɪ Countyɪ wasɪ responsibleɪ forɪ providingɪ

medical services to the inmates housed in the jail, including Fernando Macias.ɪɪ



                       Claim 2: CONDITIONS OF CONFINEMENTɫ

72.     Plaintiffɪ incorporatesɪ factsɪ fromɪ allɪ paragraphsɪ statedɪ withinɪ theɪ complaintɪ as fullyɪ

stated in this section.ɪ




                                                    12
73.       Fernandoɪ Maciasɪ sufferedɪ fromɪ schizoaffectiveɪ disorderɪ andɪ documentedɪ toɪ haveɪ

alteredɪ mentalɪ statusɪ butɪ refusingɪ allɪ medicalɪ interventionsɪ whileɪ inɪ theɪ maleɪ infirmary,ɪ

nothing was done to address these issues.ɪ

74.       Heɪ wasɪ foundɪ withɪ noɪ nailɪbedsɪonɪhisɪleftɪandɪrightɪgreatɪtoes,ɪandɪrawɪleftɪandɪrightɪ

heels.ɪ

75.       Betweenɪ Marchɪ 2018ɪ andɪ Decemberɪ 16,ɪ 2018,ɪ Defendantsɪ violatedɪ Articleɪ 16.22ɪ ofɪ

theɪ Texasɪ Codeɪ ofɪ Criminalɪ Procedure,ɪ forɪ "Earlyɪ Identificationɪ ofɪ Defendantɪ Suspectedɪ

Havingɪ Mentalɪ Illnessɪ orɪ Intellectualɪ Disability"ɪ byɪ failingɪ toɪ followɪ theɪ mandatoryɪ

proceduresɪ forɪ anɪ inmatesɪ accessɪ toɪ mentalɪ healthɪ professionals,ɪ continuityɪ ofɪ prescriptionɪ

medicationɪ requirements,ɪ mandatoryɪ training,ɪ andɪ reportingɪ requirementsɪ forɪ mentallyɪ illɪ

defendants, and pursuant to the Sandra Bland Act.ɪ

76.       Defendantsɪ violatedɪ "Mentalɪ Disabilities/Suicideɪ Preventionɪ Plan" (adoptedɪ toɪ beɪ

effectiveɪ Decemberɪ 20,ɪ 1994,ɪ lastɪ revisionɪ 2018)ɪ Sec.ɪ 273.5ɪ ofɪ theɪ Texasɪ Administrativeɪ

Code,ɪ requiringɪ staffɪ training,ɪ creatingɪ andɪ followingɪ proceduresɪ forɪ intakeɪ screeningɪ toɪ

identifyɪ mentalɪ illnessɪ (inɪ complianceɪ withɪ Tex.ɪ Codeɪ Crim.ɪ Proc.ɪ Art.ɪ 16.22),ɪ adequatelyɪ

providing for supervision, and verifying medical needs.ɪ

77.       Defendantsɪ violatedɪ Art.ɪ 16.23ɪ ofɪ theɪ Tex.ɪ Codeɪ Crim.ɪ Proc.,ɪ "Diversionɪ ofɪPersonsɪ

Sufferingɪ Mentalɪ Healthɪ Crisisɪ orɪ Substanceɪ Abuseɪ Issue''ɪ byɪ delayingɪ andɪ denyingɪ transferɪ

to a proper treatment facility for Fernando Macias serious mental health needs.ɪ




                                                   13
78.     Defendantsɪ failedɪ toɪ "reportɪ toɪ theɪ Texasɪ Correctionalɪ Officeɪ onɪ Offendersɪ withɪ

Medicalɪ orɪ Mentalɪ Impairmentsɪ onɪ aɪ jail'sɪ complianceɪ withɪ Articleɪ 16.22,ɪ Codeɪ ofɪ Criminalɪ

Procedure,"ɪ Tex.ɪ Gov'tɪ Code,ɪ tit.ɪ 4,ɪ §ɪ 511.09(a)(17)ɪ andɪ failingɪ toɪ ensureɪ theɪ jailɪ adoptedɪ

"reasonableɪ rulesɪ andɪ proceduresɪ toɪ ensureɪ theɪ safetyɪ ofɪ prisoners,ɪ includingɪ rulesɪ andɪ

proceduresɪ thatɪ requireɪ aɪ countyɪ jailɪ to:ɪ giveɪ prisonersɪ theɪ abilityɪ toɪ accessɪ aɪ mentalɪ healthɪ

professionalɪ atɪ theɪ jailɪthroughɪaɪtelementalɪhealthɪserviceɪ24ɪhours-a-day."ɪTex.ɪGov'tɪCode,ɪ

§ 511.09(a)(23)(A).ɪ

79.     Defendantsɪfailedɪtoɪfollowɪproceduresɪregardingɪcriminalɪdefendantsɪwhoɪareɪorɪmayɪ

beɪ personsɪ withɪ aɪ mentalɪ illnessɪ orɪ anɪ intellectualɪ disabilityɪ andɪ byɪ notɪ obtainingɪ aɪ writtenɪ

assessmentɪ orderedɪ byɪ theɪ magistrateɪ andɪ completedɪ byɪ theɪ local MH/IDDɪ authorityɪ orɪ

another qualified expert or followed through with recommendations.ɪ

80.     Theɪ “Annualɪ Report”ɪ forɪ calendarɪ yearɪ 2018ɪ foundɪ multipleɪ deficienciesɪ andɪ

Defendantsɪ wereɪ advisedɪ toɪ "promptlyɪ initiateɪ andɪ completeɪ appropriateɪ correctiveɪ

measures." These deficiencies included, but not limited to, findings such as:ɪɪ

"Inmateɪ classificationɪ paperworkɪandɪstaffɪinterviewsɪindicatedɪthatɪjailɪstaffɪroutinelyɪexceedɪ

custody reassessments are required. One file exceeded the 90-day limit by 27 days."ɪ

 "Theɪ administrationɪ hasɪ employedɪ andɪ authorizedɪ civilianɪ employeesɪ toɪ performɪ dutiesɪ ofɪ

health personnel or trained booking officers which is a violation of minimum jail standards."ɪ

• "The administration was unable to provide training records to confirm that detentionɪ

officers received suicide prevention training in accordance with the approvedɪ




                                                     14
operational plans."ɪ

• "Observation logs indicated that jail staff exceeded the required face-to-face 15ɪ

minute observations on a continual basis in accordance with the jails [sic] own approvedɪ

operational plan."ɪ

• "Observation logs indicated that jail staff exceeded the required face-to-face 60ɪ

minute observations on a continual basis by as few as 1 minute up to 126ɪ

minutes."ɪ

• "The administration has employed and authorized civilian employees to performɪ

duties of licensed jailers. These civilian employees are not licensed as jailers byɪ

TCOLE as required."ɪ

• "The inspection team was unable to verify, through maintained documentation,ɪ

that recreation is being offered to inmates at least 3 days per week for 1 hours asɪ

required by minimum jail standards."ɪ



                                   Claim 3: Failure to Superviseɪ

81.     Plaintiffɪ incorporatesɪ factsɪ fromɪ allɪ paragraphsɪ statedɪ withinɪ theɪ complaintɪ as fullyɪ

stated in this section.ɪ

82.     Theɪ Defendantsɪ failedɪ inɪ theirɪ responsibilityɪ forɪ Bexarɪ Countyɪ Jailɪ toɪ maintainɪ

minimumɪ standardsɪ alongɪ withɪ deliberateɪ indifferenceɪ inɪ complyingɪ withɪ minimumɪ jailɪ

standardsɪ andɪ regulationsɪ asɪ aɪ pervasiveɪ patternɪ andɪ practiceɪ ofɪ failureɪ toɪ protectɪ andɪ keepɪ




                                                   15
detaineesɪ safeɪ duringɪ theirɪ incarceration,ɪ andɪ disregardɪ forɪ theɪ policies andɪ proceduresɪ

requiredɪ forɪ mentalɪ healthɪ by:ɪ theɪ lackɪ ofɪ supervision,ɪ training,ɪ lackɪ ofɪ reassessingɪ inmateɪ

classification,ɪ employingɪ unlicensedɪ andɪ untrainedɪ civilianɪ employeesɪ overɪ criticalɪ screeningɪ

intakeɪareas,ɪandɪintentionalɪcircumventionɪofɪsystemsɪbyɪemployeesɪtoɪskipɪareasɪofɪrequiredɪ

fields in the grievance tracking system.ɪ

83.     Javierɪ Salazarɪ wasɪ theɪ officialɪ policy-makerɪ andɪ wasɪ sufficientlyɪ awareɪ thatɪ itsɪ

supervision,ɪ andɪ trainingɪ policies,ɪ wereɪ defective,ɪ incomplete,ɪ orɪ routinelyɪ ignoredɪ byɪ hisɪ

medicalɪ providersɪ andɪ officersɪ (atɪ least)ɪ toɪ theɪ extentɪ thatɪ theyɪ facilitatedɪ orɪ permittedɪ theɪ

constitutional violations against Mr. Macias.ɪ

84.     Javierɪ Salazarɪ failedɪ toɪ superviseɪ theɪ individualɪ officersɪ underɪ hisɪ command.ɪ Asɪ

Sheriff,ɪ allɪ deputies,ɪregional orɪotherwise,ɪmustɪreportɪdirectlyɪtoɪSalazar.ɪJavierɪSalazarfailedɪ

toɪ properlyɪ superviseɪ hisɪ subordinatesɪ inɪtheɪproperɪresponseɪtoɪhisɪinmates'ɪseriousɪmedicalɪ

needs which led to the pain and suffering, mental anguish, and death of Fernando Macias.ɪ

85.     Suchɪ lackɪ ofɪ supervisionɪ allowedɪ defendantsɪ toɪ ignoreɪ Fernandoɪ Macais’sɪ seriousɪ

medical needs.ɪ

86.     Theɪ lackɪ ofɪ trainingɪ andɪ supervisionɪ resultedɪ inɪ theɪ failureɪ toɪ respondɪ toɪ Mr.ɪ Maciasɪ

seriousɪ medicalɪ needsɪ byɪ failingɪ toɪ makeɪ theirɪ bestɪ effortsɪtoɪensureɪMr.ɪMacias’sɪhealthɪandɪ

safety needs were met.ɪ ɪ

                                       Claim 4:Survival Claimɫ




                                                    16
87.      Plaintiffsɪ incorporateɪ factsɪ fromɪ allɪ paragraphsɪ statedɪ withinɪ theɪ complaintɪ asɪ fullyɪ

stated in this section.ɪɪ

88.     Fernandoɪ Maciasɪ wasɪ unmarried,ɪ withoutɪ childrenɪ andɪ wasɪ survivedɪ byɪ hisɪ siblingsɪ

Stephen Macias, Walter Macias, Yvonne Shilling, and Fernando Macias.ɪ

89.     Theɫ heirsɫofɫFernandoɫMaciasɫfileɪthisɪsurvivorɪaction againstɪdefendants,ɪpursuantɪ

toɪ theɪ Texasɪ Survivorshipɪ Statuteɪ andɪ assertɪ claimsɪ thatɪ Fernandoɪ Maciasɪwouldɪhaveɪbeenɪ

ableɪ toɪ bringɪ onɪ hisɪ ownɪ behalfɪ hadɪ heɪ survivedɪ thatɪ wereɪ aɪ resultɪ ofɪ theɪ Defendantsɪ jointɪ

andɪ severalɪ actsɪ andɪ omissions,ɪ specificallyɪ forɪ theɪ violationɪ ofɪ herɪ dueɪ processɪ rights,ɪ andɪ

pre-death pain and suffering.ɪ

                                    Claim 6: Gross Negligenceɫɫ

90.     Inɪ theɪ alternativeɪ toɪ theɪ constitutionalɪ claims,ɪ Plaintiffsɪ bringɪ claimsɪ forɪ negligenceɪ

against the private medical care providers.ɪ

91.     Eachɪ andɪ everyɪ medicalɪ careɪ providerɪ hadɪ aɪ dutyɪ ofɪ reasonableɪ careɪ toɪ Fernandoɪ

Macias.ɪɪ

92.     Theɪ medicalɪ providersɪ consciously,ɪ recklesslyɪ andɪ voluntarilyɪ withoutɪ reasonɪ

disregarded their duty of reasonable care toward Fernando Macias.ɪ

                                           VI.      DAMAGESɫ

93.     Plaintiffsɪ incorporateɪ byɪ referenceɪ allɪ precedingɪ paragraphsɪ ofɪ thisɪ Originalɪ

Complaint as if set forth at length herein in this section.ɪɪ




                                                    17
94.     Plaintiffsɪ experienced,ɪ andɪ inɪ allɪ likelihoodɪ willɪ experience,ɪ atɪ leastɪ greatɪ painɪ andɪ

sufferingɪ inɪ theɪ pastɪ andɪ inɪ theɪ future,ɪ greatɪ mentalɪ anguishɪ inɪ theɪ pastɪ andɪ future,ɪ loss ofɪ

enjoyment of Fernando Macias’s life, loss of consortium, and love and society.ɪɪ

95.     Plaintiffsɪ seekɪ exemplaryɪ damages.ɪ Plaintiffsɪ alsoɪ bringɪ claimsɪ forɪ violationsɪ ofɪ

Fernando Macias’s Fourth, and Fourteenth Amendment rights.ɪ

96.     Plaintiffsɪ haveɪ beenɪ damagedɪ byɪ theɪ lossɪ ofɪ companionship,ɪ loveɪ andɪ societyɪ thatɪ

would have been provided by Fernando Macias but for his preventable death.ɪ

97.     Fenandoɪ Maciasɪ sufferedɪ greatɪ mentalɪ anguishɪ andɪ painɪ inɪ theɪ months,ɪ weeks,ɪ days,ɪ

hours,ɪ andɪ minutesɪ beforeɪ hisɪ deathɪ andɪ suchɪ isɪ actionableɪ throughɪ herɪ estateɪ andɪ funeralɪ

expenses are recoverable as well.ɪ

98.     Awardɪ exemplaryɪ damagesɪ toɪ Plaintiffs.ɪ Allɪ individuals,ɪ excludingɪ theɪ county,ɪ suedɪ

areɪ liableɪ forɪ punitiveɪ damagesɪ asɪ theyɪ wereɪ deliberatelyɪ indifferentɪ toɪ Fernandoɪ Macias’sɪ

constitutionalɪ rightsɪ andɪ theyɪ didɪ theɪ actsɪ knowingly,ɪ suchɪ acts,ɪ includingɪ theɪ denialɪ andɪ

delay of medical care to Fernando Macias.ɪɪ

99.     These acts are extreme and outrageous and shocking to the conscious.ɪɪ



                                       VII.     ATTORNEYS’ FEESɫ

Afterɪ prevailingɪ herein,ɪ Plaintiffsɪ areɪ entitledɪ toɪ recoverɪ reasonableɪ andɪ necessaryɪ attorneys’ɪ

feesɪ andɪ costsɪ toɪ enforceɪ Fernandoɪ Macias’sɪ constitutionalɪ rightsɪ underɪ 42ɪ U.S.C.ɪ sectionsɪ

1983 and 1988 from Defendants.ɪɪ




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                                      VIII. PRAYER FOR RELIEFɫ

Forɪ theɪ reasonsɪ setɪ forthɪ herein,ɪ Plaintiffsɪ respectfullyɪ requestɪ thatɪ theɪ Defendantsɪ beɪ citedɪ

toɪappearɪandɪanswerɪhereinɪandɪthatɪPlaintiffsɪhaveɪaɪfinalɪjudgmentɪagainstɪtheɪDefendants,ɪ

jointlyɪ andɪ severally,ɪ forɪ actualɪ damagesɪ aboveɪ theɪ jurisdictionalɪ minimumɪ ofɪ theɪ Court,ɪ

compensatoryɪ damagesɪ aboveɪ theɪ jurisdictionalɪ minimumɪ ofɪ theɪ Court,ɪ nominalɪ damagesɪ

aboveɪ theɪ jurisdictionalɪ minimumɪ ofɪ theɪ Court,ɪ mentalɪ anguish,ɪ exemplaryɪ damagesɪ asɪ

allowedɪ byɪ law,ɪ pre-judgmentɪ andɪ post-judgmentɪ interest,ɪ costsɪ ofɪcourt,ɪattorneys’ɪfeesɪandɪ

expenses,ɪ andɪ allɪ otherɪ reliefɪ toɪ whichɪ theɪ Plaintiffɪ isɪ justlyɪ entitled,ɪ atɪ lawɪ orɪ inɪ equity.ɪ

Plaintiffsɪ alsoɪ requestɪ thisɪCourtɪtoɪenterɪaɪpermanentɪinjunctionɪtoɪpreventɪfutureɪviolationsɪ

ofɪ theɪ Fourth,ɪ andɪ Fourteenthɪ Amendmentsɪ forɪ theɪ claimsɪ assertedɪ herein.ɪ Plaintiffsɪ alsoɪ

requestɪ theɪ authorizationɪ toɪ conductɪ post-judgmentɪ discoveryɪtoɪensureɪthatɪDefendantsɪareɪ

in compliance with a permanent injunction.ɪ

                                                          Respectfully submitted,ɪ ɪ

                                                          By: /s/ U.A. Lewis____ɪɪ
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